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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 12-cv-00850-REB-KLM

OLIVIA CORDOVA,


              Plaintiff,

v.

ENHANCED RECOVERY COMPANY, LLC, a Delaware limited liability company,

             Defendant.


                 NOTICE OF DISMISSAL WITH PREJUDICE
______________________________________________________________________

      COMES NOW the Plaintiff by her undersigned attorney of record who hereby

notifies the Court that the parties have settled this case and pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) hereby dismisses this case with prejudice and on the merits pursuant

hereto with each party to pay her or its own attorney’s fees and costs.


Dated: April 25, 2012.


                                         Respectfully submitted,


                                         _s/ David M. Larson____________
                                         David M. Larson, Esq.
                                         88 Inverness Circle East, Suite I-101
                                         Englewood, CO 80112
                                         (303) 799-6895
                                         Attorney for the Plaintiff
